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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT
__________________________________________
                                           )
CONSERVATION LAW FOUNDATION, INC., )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )  Case No. 3:21-cv-00201-JBA
                                          )
ALL-STAR TRANSPORTATION, LLC, and         )
STUDENT TRANSPORTATION OF                 )
AMERICA, LLC.                             )
                                          )
      Defendants.                         )
__________________________________________)

                                  JOINT STATUS REPORT

        Pursuant to the Court’s February 15, 2022 Order, Plaintiff Conservation Law Foundation
(“Plaintiff”) and Defendants All-Star Transportation, LLC and Student Transportation of
America, LLC (collectively “Defendants”) by and through counsel submit this Joint Status
Report.
                                  Settlement Conference Status

        The parties met six times between March 2021 and September 2021. Multiple settlement
offers were exchanged over that time. The parties also attended settlement conferences before
Magistrate Judge Robert A. Richardson on February 8th, 2022, and March 21st, 2022. Despite the
good faith efforts of both parties, no settlement was reached.

                                        Pending Motions

        Defendants have stated their intent to file a Rule 12(b)(1) Motion to Dismiss for Lack of
Subject Matter Jurisdiction and a Rule 12(b)(2) Motion to Dismiss for Lack of Personal
Jurisdiction. The Court held a pre-filing conference on these motions on October 21, 2021,
during which Defendants requested 90 days of jurisdictional discovery in connection with the
Rule 12(b)(1) motion. Before the Court issued a schedule for jurisdictional discovery, the action
was referred to settlement conference. The parties will include a proposed jurisdictional
discovery period in their Report of the Parties’ Planning Conference.
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                                              Discovery

        Discovery has not yet begun, but the parties anticipate significant discovery (fact and
expert) going forward. For purposes of compliance with Federal Rule of Civil Procedure 26(f)
and Local Civil Rule 26(f), the parties intend to conduct a Parties’ Planning Conference on or
about April 25, 2022. They will then submit to the Court their Report of The Parties’ Planning
Conference on or before May 9, 2022.

                                         Settlement Referral

       The parties do not believe that another settlement conference would be productive at this
juncture.
                                     Trial Before Magistrate

       The parties differ on whether they each consent to a trial before a magistrate judge.

                                     Estimated Length of Trial

       The parties estimate that a trial in this case will last 4-5 days.

Date: April 11, 2022

Respectfully Submitted,
  PLAINTIFF                                           DEFENDANTS

   CONSERVATION LAW FOUNDATION                        ALL-STAR TRANSPORTATION, LLC &
                                                      STUDENT TRANSPORTATION OF
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